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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF MELISSA MARI
PALO ALTO, et al.,                    LOPEZ (ESTRELLA DEL PASO) IN
              Plaintiffs,             SUPPORT OF PLAINTIFFS’ MOTION
                                      FOR A TEMPORARY RESTRAINING
     v.                               ORDER AND PRELIMINARY
                                      INJUNCTION
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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